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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


FRANCIS SCHAEFFER COX,

                  Plaintiff,
v.

BENBELLA BOOKS, INC., et al

                  Defendants.




        PLAINTIFF’S REPLY TO DEFENDANT BENBELLA’S OPPOSITION TO
       PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL AND REQUEST FOR
                           ADDITIONAL SANCTIONS

        Plaintiff Francis Schaeffer Cox (“Plaintiff Cox”) submits the following in reply to

Defendant BenBella Books Inc.’s (“Defendant BenBella”) Opposition to Cox’s Motion for

Voluntary Dismissal. ECF No. 23. Plaintiff Cox hereby incorporates by reference his Opposition

to Defendant BenBella’s Motion to Dismiss Pursuant to Tex. Civ. Prac. & Rem. Code § 27.001

et seq., Motion for Sanctions, and Supplemental Motion for Sanctions, ECF No.’s 27-29, and the

law and facts contained therein that address the issues set forth in Defendant BenBella’s

Opposition.

        Defendant BenBella’s Opposition is just the latest example of counsel for Defendant

BenBella’s pattern and practice of vexatiously multiplying pleadings in an obvious attempt to

generate more attorneys’ fees and costs for Defendant’s insurance carrier. Indeed, Plaintiff, as a

matter of professional courtesy, gave counsel for Defendant BenBella notice of his client’s intent

to voluntarily dismiss the case, which has apparently triggered their attempts to vexatiously

multiply the pleadings in this case.



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        It is not for Defendant or their counsel to speculate as to what future legal action that

Plaintiff Cox may or may not take. As this Court is aware, Plaintiff Cox is currently incarcerated

in maximum security federal prison, in large part due to the alleged false and perjurous

statements of co-Defendant William Fulton, who is currently evading service of process, while at

the same time filming and profiting from a movie about his libelous book, The Blood of Patriots:

How I Took Down an Anti-Government Militia With Beer, Bounty Hunting, and Badassery.1

Whether Plaintiff Cox decides to and will be able to file another Complaint is thus purely

speculative at this point.

        In any event, Plaintiff Cox’s defamation claim is not time barred, since discovery was

never taken as to the actual date of first publication. 2 Furthermore, republication of the

defamatory material has occurred within the Texas one-year statute of limitations. Lastly, there

are other causes of action in Plaintiff Cox’s Complaint that are clearly not subject to a one-year

statute of limitations that counsel for Defendant BenBella conveniently chooses to ignore. It’s

frivolous attempt to have the entire case dismissed with prejudice is just that.

        Accordingly, Defendant BenBella’s opposition should be stricken and fees and costs

awarded to counsel for Plaintiff pursuant to 28 U.S.C. § 1927 and this Court’s inherent authority.

Defendant and its counsel oppose the imposition of sanctions against them.



1
 It is outrageous that Defendant William Fulton, who is evading service, claiming to be in a
witness protection program, is now threatening individuals who are helping Plaintiff Cox with a
countersuit for defamation to be filed in this case when he won’t even appear here. This and
other correspondence provided to the Court in prior pleadings suggests that Defendant
BenBella’s counsel has been in touch with and/or is also representing Defendant Fulton, while
possibly aiding him with evading service of process. See Exhibit 1.
2
  The copyright date is not the date of publication upon which Defendant BenBella bases its
statute of limitations defense. Nor is any date listed on websites necessarily the date of first
publication, as book publishers frequently advertise in advance of the publication date. This is
irrelevant to the date of first publication.

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Dated: April 9, 2019                               Respectfully submitted,

                                                    /s/ Larry Klayman
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                                                   Attorney for Plaintiff


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed
electronically and served through the court’s ECF system to all counsel of record or parties on
April 9, 2019.

                                                          /s/ Larry Klayman




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